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                   IN THE UNTED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

KAO LEE YANG, Individually, and                §
obo,                                           §
S.V. & T.V., Minors                            §    CIVIL ACTION NO. 14:18-CV-161
                                               §
                                               §    (ADMIRALTY)

                                               §    Hon. Lynn N. Hughes
v.                                             §
                                               §
TEICHMAN GROUP, LLC, T&T                       §
MARINE, INC., & EXPRESS                        §
PROFESSIONAL SERVICES, INC.                    §
                           AGREED MOTION TO
                     ENFORCE SETTLEMENT AGREEMENT

TO TI-IE HONORABLE JUDGE HUGHES:

       Defendants Teichman Group, LLC and T&T Offshore, Inc. (misnamed in Plaintiffs'

petitions as "T&r Marine, Inc.") (collectively, "T&T Offshore") and Plaintiffs Kao Lee

Yang, Individually and on behalf of S.V. and T.V., minors, ask this Court for an order

enforcing and/ or ratifying their settlement agreement in the underlying wrongful death case.

                      INTRODUCTION AND BACKGROUND

       This case arises from the death of Chi Tai Vong, which occurred in a crane accident

at T&T Offshore's facility in Galveston. Vong's putative wife, Kao Lee Yang, filed suit in

the 164th District Omrt of Harris County, individually and on behalf of her two minor

children. against Teichman Group, LLC, T&T Marine, Inc., Express Professional Services,

Inc., and OSG Lightering, LLC.

       That case was removed to this Court on January 19, 2018, on the motions of OSG

Lightering (now putative known as "Lightering, LLC') and Cheramie Marine, LLC.

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